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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF INDIANA
                              FORT WAYNE DIVISION


IN RE:                                  )             Case No: 18-11687
Craig William Bradley                   )             Chapter 7
Debtor                                  )


     NOTICE OF AMENDMENT OF SCHEDULES A/B, C WITH DECLARATION


COMES NOW Debtor, by counsel, and gives notice that Schedules A/B and C are amended to
correct errors.




                                               /s/ Marian C. Welling
                                               Marian C. Welling # 18215-02
                                               Counsel for Debtor
                                               5326 Old Mill Road
                                               Fort Wayne, IN 46807
                                               260-450-5372
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                                CERTIFICATE OF SERVICE
       I hereby certify that a true and accurate copy of the above was served on the parties listed
below by placing a copy in the U.S. Mail or by mailing electronically on October 14, 2018, at
the addresses listed below.


U.S. Trustee
100 E. Wayne St. Suite 555
South Bend, IN 46601                                 Credit Acceptance Corp
USTPRegion10.SO.ECF@usdoj.gov                        Attn: Operations Support
                                                     PO Box 513
                                                     Southfield, MI 48037
Yvette Gaff Kleven, Trustee
111 W. Wayne St.                                     Maria Miller Bradley
Fort Wayne, IN 46802                                 13216 Lake Everett Dr
ygk@adelspergerkleven.com                            Fort Wayne, IN 46818

Craig William Bradley                                Mr. Cooper
4 Emerald Lane                                       PO Box 619094
Huntington, IN 46750                                 Dallas, TX 75261

                                                     Three Rivers Federal Credit Union
Airway Oxygen Inc                                    PO Box 2573
PO Box 9950                                          Fort Wayne, IN 46801
Wyoming, MI 49509
                                                     Wilson Real Estate & Development
Chase Card                                           261 W. market St
PO Box 15298                                         Huntington, IN 46750
Wilmington, DE 19850




                                                     /s/ Marian C. Welling
                                                     Marian C. Welling #18215-02
